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                           Exhibit 16
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     From:             Baimel, Stuart
     To:               Hogan, John (ATR)
     Cc:               Rubinstein, Franklin; Nierlich, George (ATR); Seo, Sang Ha (Karen) (ATR)
     Subject:          Re: Update Requests for CID No. 30471
     Date:             Thursday, November 19, 2020 4:09:08 PM


     John--see below in blue for our responses in-line.

     S.


     Stuart B. Baimel
     Wilson Sonsini Goodrich & Rosati
     (805) 705-3126




     From: Hogan, John (ATR) <John.Hogan2@usdoj.gov>
     Sent: Tuesday, November 17, 2020 1:35 PM
     To: Rubinstein, Franklin; Baimel, Stuart
     Cc: Nierlich, George (ATR); Seo, Sang Ha (Karen) (ATR)
     Subject: Update Requests for CID No. 30471
     [External]
     Franklin and Stuart:
     Thanks for the call this morning. As discussed, the Division requests an update by Thursday,
     November 19 on the items below. We would appreciate if you could provide these updates by 1
     p.m. on Thursday.
                 1. Ad Tech Integration Agreements
                                 • The Division first requested these agreements from Alphabet on August
                                   6 and I again requested these agreements on October 29 under CID No.
                                   30471. Please provide an update on when the Division can expect
                                   Alphabet to produce these agreements.
                                 • Google is currently reviewing these documents and expects to produce
                                   them in the next few weeks. We will also need to allow for time to
                                   provide notice to the counterparties in these agreements.
                 2. Data Call
                                 • The Division requested a call with the appropriate Google employee(s)
                                   on August 28 regarding data questions specific to GAM, AdX, AdMob,
                                   and AdSense (i.e., Requests 1 & 2 in the Division’s August 28 letter).
                                   The Division again requests a call on these questions under CID No.
                                   30471. Please provide an update on the status of scheduling this call or
                                   responding to these questions.
                                 • We have collected the data and responses for these requests, but it still
                                   needs to be vetted and finalized. We should be able to produce this
                                   information in the next week or so.
                 3. Priority Data Requests
                                 • Attached please find the Division’s priority data requests for CID No.
                                   30471. As discussed in the letter, three of these requests are consistent
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                                     with previous requests from the Division.
                                   • As stated in the letter, provide an estimate of the time Alphabet needs
                                     to produce each priority data request. The Division will identify an
                                     order of priority for these requests following your response.
                                   • Rasta Data: This data has been preserved. Google is investigating how
                                     long it will take to produce this data.
                                   • YouTube Data: This data has largely been collected but needs to be
                                     vetted and finalized before we provide it to DOJ. We should be able to
                                     provide in the next couple of weeks.
                                   • Demand-Side Data: This data has largely been collected but needs to be
                                     vetted and finalized before we provide it to DOJ. We should be able to
                                     provide in the next couple of weeks. We are still investigating some
                                     aspects of this request, namely the request for historical discounts
                                     from the rate card.
                                   • Log-Level Bid Data from GAM: Google is investigating how long it will
                                     take to collect this data. We expect to provide an estimate next week.
                 4. Search Terms
                                   • We look forward to receiving on Thursday the search terms Alphabet
                                     used for each specification to identify responsive materials for the non-
                                     priority Group C custodians which Alphabet produced on November 14
                                     in response to CID No. 30471. As discussed today, we understand that
                                     you will also provide a red line of search terms you propose to remove
                                     as we move forward.
                                   • We have the search terms and are working on providing a redline of
                                     terms we propose to remove.
                 5. Production Metrics
                                   • Please provide the following metrics for Alphabet’s November 14
                                     production of materials for the non-priority Group C custodians:
   mber of docs pulled;
    of docs that hit the search terms (before deduplication);
    of unique docs (after deduplication);
    of non-responsive docs;
    of responsive docs that are not withheld from production;
    of docs currently withheld for privilege;
    withheld for privilege in vi., the number of docs determined privileged vs. under review; and
    r of documents in iii. not accounted for in iv., v., and vi., and a brief explanation of categories of such
              docs.
                         • Moving forward, we request a regular update on these metrics for Ad Tech and
                            YouTube custodians.
                         • We are working on collecting those metrics. It should not take long to pull this
                            information.
                 5. Collaborative Work Environments
                                   • Explain the process Alphabet uses to collect materials from
                                     Collaborative Work Environments including, but not limited to, G Suite,
                                     Google Docs, and Google Hangouts.
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                                Specifically, provide an explanation for the process used to collect chats
                                and identify Alphabet’s retention policy for chats.
                              • As explained in our ESI questionnaire, Google uses G Suite (including
                                Google Docs, Slides and Sheets) as its collaborative software. Google
                                does not use Sharepoint or equivalent programs. G Suite documents
                                are collected with a back-end procedure for all custodians.
                              • Regarding chats, Google’s retention policy, provided to the Division last
                                year, states that “on the record” chats will be preserved as part of the
                                legal hold.
                              • Those on a hold notice are instructed to mark relevant discussions as
                                “on the record.”
                6. Text Messages
                              • Please provide additional details regarding the steps Alphabet is taking
                                to preserve text messages which includes, but is not limited to,
                                traditional text/SMS/MMS messages, WhatsApp, Facebook Messenger,
                                Signal, and Telegram for Ad Tech and YouTube custodians.
                              • As we have explained to the Division, Google’s offices are closed and
                                we cannot collect text messages from custodians’ mobile devices.
                                Custodians have received a hold notice with instructions to preserve all
                                relevant communications, including all forms of P2P messaging.

     Please let me know if you have any questions.
     Best,
     John
     John J. Hogan
     Trial Attorney
     United States Department of Justice
     Antitrust Division | Technology and Financial Services Section
     450 5th Street, NW Suite 7632
     Washington, D.C. 20530
     Cell: 202-288-2195 | Office: 202-598-2289

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